
720 S.E.2d 680 (2012)
Re: DELHAIZE AMERICA, INC.
v.
HOYLE
No. 330P11-1.
Supreme Court of North Carolina.
January 26, 2012.
James G. Exum, Jr., Greensboro, for Delhaize America, Inc.
Kay Linn Hobart, Special Deputy Attorney General, for Hoyle, David.
Reid L. Phillips, Greensboro, for Delhaize America, Inc.
Richard L. Wyatt, Jr., for Delhaize America, Inc.
Jasper Cummings, Jr., Durham, for Council on State Taxation.
Andrew Ellen, Raleigh, for North Carolina Retail Merchants, et al.
William G. Scoggin, Raleigh, for North Carolina Retail Merchants Association, et al.
The following order has been entered on the motion filed on the 3rd of August 2011 by Plaintiff for Admission of Joseph P. Esposito Pro Hac Vice:
"Motion Allowed by order of the Court in conference, this the 26th of January 2012."
